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                      SEALED DOCUMENTS PROPOSED INTERVENORS REQUESTED BE UNSEALED




  Document        Defendants’
 and Portion      “Evidence   in
 of Document       Support of                        U.S.’ Position on         Proposed Intervenors’ Updated Positions
                 Sealing” (Dkt.
 to be Sealed                       Ruling       Unsealing (Dkt. No. 329)              Reply
    by U.S.         No. 329)
Dkt. No. 45, Privacy Act, 5 Granted             Defendants do not object The Court should unseal (no change)
Motion to       U.S.C.           without        to unsealing Dkt. No. 45, Dkt. No. 45 now that
Seal Excerpts §§ 552a(b);        explanation in as the motion to seal itself Defendants have
of Agostini’s (b)(7) (protect Dkt. No. 222      should not have been         withdrawn their sealing
First           privacy interest                filed under seal.            request.
Declaration     and law
ISO             enforcement
Opposition to sensitive
PI              information)
Documents       Privacy Act, 5 Granted without Defendants object to          Proposed Intervenors       Federal Defendants
and excerpts U.S.C.              explanation in unsealing excerpts related cannot assess whether        maintain that the
related to Dkt. §§ 552a(b);      Dkt. No. 222   to Dkt. No. 45 as the        underlying documents       unredacted excerpts in
No. 45          (b)(7) (protect                 reasons for sealing (privacy should be unsealed without Dkt. Nos. 45-4 and 45-5
                privacy interest                and confidential criminal seeing the motion to seal. should remain sealed
                and law                         investigative material)      Proposed Intervenors note because they contain
                enforcement                     remain compelling despite their general objection to personally identifying
                sensitive                       facility closure.            Defendants’ reliance on information and
                information)                                                 the Privacy Act and FOIA information relating to
                                                                             exemptions.                ongoing criminal
                                                                                                        investigations.
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Dkt. No.      Privacy Act, 5 Granted without Defendants do not object       The Court should unseal (no change)
75,           U.S.C.          explanation in to unsealing Dkt. No. 75,      Dkt. No. 75 now that
Unoppose      § 552a (private Dkt. No. 222   as the motion to seal itself   Defendants have
d Motion      health                         should not have been           withdrawn their sealing
to Seal       information                    filed under seal.              request.

Documents and Privacy Act, 5 Granted without Defendants object to         Proposed Intervenors       Federal Defendants have
excerpts        U.S.C.          explanation in unsealing all documents cannot assess whether         stated that the sealed
related to Dkt. § 552a (private Dkt. No. 222   and excerpts related to    underlying documents       exhibits contain a
No. 75          health                         Dkt. No. 75 as the reasons should be unsealed without declaration authenticating
                information)                   for sealing (privacy)      seeing the motion to seal. medical records and
                                               remain compelling despite Proposed Intervenors do medical records.
                                               facility closure.          not seek to unseal medical Intervenors do not seek to
                                                                          records, but note their    unseal medical records.
                                                                          general objection to
                                                                          Defendants’ reliance on
                                                                          the Privacy Act
Dkt. No. 143, (Related to Dkt. Granted without Did not address            This motion is related to Federal Defendants agree
Plaintiffs’     No. 159)        explanation in                            Dkt. No. 159. See below. that evidentiary hearing
Administrative                  Dkt. No. 222                                                         Exhibits K and N should
Motion to                                                                                            be unsealed subject to the
Consider                                                                                             redaction of personally
Whether                                                                                              identifying information.
Another
Party's
Material
Should Be
Sealed
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Dkt. No. 159, Dkt. No. 161-3 Granted without Defendants do not object The Court should unseal (no change)
Admin. Mtn to at ¶¶ 6, 8, 16 explanation in to unsealing Dkt. No. 159, Dkt. No. 159 now that
Seal Response                Dkt. No. 222    as the motion to seal itself Defendants have
to Dkt. No.                                  should not have been         withdrawn their sealing
143                                          filed under seal.            request.



Documents       Privacy Act, 5   Granted without The United States objects Proposed Intervenors        The sealed information in
and excerpts U.S.C.              explanation in to unsealing its Response cannot assess whether        Dkt. 159-3 relates to
related to Dkt. § 552a; Doc.     Dkt. No. 222    to Dkt. 143 as the reasons underlying documents       evidentiary
No. 159         161-3                            for sealing remain         should be unsealed without hearingExhibits J, T, K
                at ¶¶ 6, 8, 16                   compelling (privacy and seeing the motion to seal. and N, (K and N are
                                                 institutional security)    Proposed Intervenors note discussed in Dkt. No.
                                                 despite                    their general objection to 143), which Federal
                                                 facility closure.          Defendants’ reliance on Defendants agree should
                                                                            the Privacy Act.           be unsealed subject to the
                                                                                                       redaction of personally
                                                                                                       identifying information
                                                                                                       and on the new ground
                                                                                                       that law enforcement
                                                                                                       sensitive policies not
                                                                                                       relevant to this litigation
                                                                                                       should remain sealed to
                                                                                                       maintain institutional
                                                                                                       security nationwide
Dkt. 162,     Privacy Act, 5     Granted without Defendants do not object The Court should unseal Federal Defendants agree
Admin. Mtn to U.S.C.             explanation in to unsealing the            Dkt. No. 162 now that that the documents at issue
Seal Private § 552a              Dkt. No. 222    administrative motion to Defendants have              should be unsealed subject
Health                                           seal, but objects to       withdrawn their sealing to the redaction of
Information                                      unsealing related          request.                   personally identifying
                                                 documents as the reasons Proposed Intervenors         information.
                                                 for sealing (privacy)      cannot assess whether
                                                 remain valid despite       underlying documents
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                                                facility closure.         should be unsealed without
                                                                          seeing the motion to seal.
                                                                          Proposed Intervenors note
                                                                          their general objection to
                                                                          Defendants’ reliance on
                                                                          the Privacy Act

Dkt. 168,      Privacy Act, 5  Granted without Defendants do not object The Court should unseal Federal Defendants agree
Admin. Mtn to U.S.C.           explanation in to unsealing the motion to Dkt. No. 168 now that     that the documents at issue
Seal Report to § 552a(b)       Dkt. No. 222    seal, but objects to      Defendants have           should be unsealed subject
Court                                          unsealing the related     withdrawn their sealing to the redaction of
                                               documents as the reasons request.                   personally identifying
                                               for sealing (privacy)     Proposed Intervenors      information.
                                               remain valid despite      cannot assess whether
                                               facility                  underlying documents
                                               closure.                  should be unsealed
                                                                         without seeing the motion
                                                                         to seal. Proposed
                                                                         Intervenors note their
                                                                         general objection to
                                                                         Defendants’ reliance on
                                                                         the Privacy Act.
Dkt. 176,     Privacy Act, 5 Granted without Defendants do not object The Court should unseal Federal Defendants
Admin. Mtn to U.S.C. § 552a; explanation in to unsealing the motion to Dkt. No. 176 now that maintain that Dkt Nos.
Seal          Doc. 161-3 at ¶¶ Dkt. No. 222    seal, but objects to      Defendants have           176-3, and 176-4, and 176-
Documents     6, 8, 16                         unsealing related         withdrawn their sealing 5 should remain sealed
Related to                                     documents, as the reasons request.                  because they relate to
Dkts. 172–                                     for sealing (privacy and Proposed Intervenors       institutional security and
176                                            institutional security)   cannot assess whether     on the new ground that
                                               remain compelling despite underlying documents      they contain information
                                               facility closure.         should be unsealed        relating to ongoing
                                                                         without seeing the motion criminal investigations.
                                                                         to seal. Proposed
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                                                                              Intervenors note their
                                                                              general objection to
                                                                              Defendants’ reliance on
                                                                              the Privacy Act.




Dkt. No. 178, (Defendants        Granted without Did not address              This sealing request      This sealing request also
Plaintiffs’    previously raised explanation in                               relates to the Moss Group relates to evidentiary
Administrative institutional     Dkt. No. 222                                 Report. The Court should hearing exhibits, and Dkt.
Motion to      safety arguments                                               unseal this Report        162-3, which Federal
Consider       in Dkt. No. 193)                                               because Defendants’       Defendants agree should
Whether                                                                       institutional safety      be unsealed subject to the
Another                                                                       argument is not supported redaction of personally
Party’s                                                                       by specific facts.        identifying information.
Material                                                                                                The excerpt in Dkt. 178-3
Should Be                                                                                               referencing Dkt. 176-4,
Sealed                                                                                                  should remain sealed on
Regarding                                                                                               the new ground that it
Portions of                                                                                             contains information
Plaintiffs’                                                                                             relating to ongoing
Reply Post-                                                                                             criminal investigations.
Evidentiary
Hearing Brief
Dkt. No. 184, Privacy Act, 5    Granted without   The United States objects to The Court should unseal      Federal Defendants object
Admin. Mtn to U.S.C. § 552a(b); explanation in    unsealing Dkt. 184 as the these documents because         to unsealing Dkt. Nos.
File Excerpts Doc. 161- 3 at    Dkt. No. 222      reasons for sealing remain Defendants’ arguments          184-3, 184-4, and 184-5
Under Seal      ¶¶ 6, 8, 16                       compelling despite facility relating to privacy and       on the new ground that the
Excerpts of                                       closure.                     institutional safety are not documents relate to
Documents, and                                                                 supported by specific facts. ongoing criminal
all excerpts of                                                                                           investigations.
said documents,
containing
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PII and law
enforcement
sensitive
materials




Dkt. No. 191, (Defendants have Granted without    Did not address          This motion relates to        Federal Defendants take
Plaintiffs’     not previously   explanation in                            “material that the Court      no position on unsealing
Administrative responded to this Dkt. No. 222                              filed under seal in this      Dkt. No. 191-3.
Motion to       motion)                                                    matter in its sua sponte
Consider                                                                   Order Granting Immediate
Whether                                                                    Specific Relief, ECF No.
Material Should                                                            157-1.” Dkt. No. 191.
Be Sealed
Regarding                                                                   Proposed Intervenors
Portions of                                                                 cannot assess whether the
Plaintiffs’                                                                 underlying documents
Emergency                                                                   should be unsealed
Notice in                                                                   without examining the
Response to                                                                 Court’s basis for allowing
United States                                                               these documents to be
Notices in                                                                  filed under seal.
Response to
Dkt. Nos. 157
and 157-1
Dkt. No. 197, Privacy Act, 5 Granted without The United States            Defendants’ arguments Federal Defendants agree
Admin. Mtn U.S.C.               explanation in objects to unsealing all   relating to privacy and      that Dkt. Nos. 197-4 and
to Seal        § 552a(b), Doc. Dkt. No. 222    documents and excerpts institutional safety are not 197-5 should be unsealed.
Declarations 161-                              related to Dkt. No. 197 as supported by specific facts.
Related to PII 3 at ¶¶ 6, 8, 16                the reasons for sealing,                                Federal Defendants object
and                                            (privacy and institutional Proposed Intervenors         to unsealing Dkt. Nos.
Institutional (Defendants also                 security) remain           cannot fully assess          197-3 and 197-6 on the
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Security and previously also                      compelling despite facility whether underlying         new ground that the
related filings previously relied                 closure.                    documents should be        documents relate to
                on Court’s                                                    unsealed without           ongoing criminal
                February 27,                                                  examining the Court’s      investigations.
                2024 hearing                                                  basis for allowing these
                statements)                                                   documents to be filed
                                                                              under seal.
Dkt. No. 199, Privacy Act, 5 Granted without The United States objects Proposed Intervenors do Federal Defendants have
Admin. Mtn to U.S.C.             explanation in to unsealing all documents not seek to unseal         stated that Dkt. Nos. 199-4
Seal Medical § 552a(b)           Dkt. No. 222   and excerpts related to    individual private medical through 199-28 are
Information in                                  Dkt. No. 199 as the        information but note their medical records.
Response to (Defendants also                    reasons for sealing        general objection to       Intervenors do not seek to
Dkts. 190 and previously relied                 (privacy) remain           Defendants’ reliance on unseal medical records.
195, and        on the Court’s                  compelling despite         the Privacy Act.
related filings Court’s March 4,                facility closure.          Proposed Intervenors       Federal Defendants have
                2024 conference                                            cannot fully assess        stated that Dkt. No. 199-3
                statements)                                                whether underlying         is a declaration that
                                                                           documents should be        contains information
                                                                           unsealed without           relating to a sealed Court
                                                                           examining the Court’s      order (Dkt. No. 157-1). If
                                                                           basis for allowing these that order is unsealed,
                                                                           documents to be filed      Federal Defendants do not
                                                                           under seal.                object to unsealing the
                                                                                                      declaration with
                                                                                                      appropriate redaction of
                                                                                                      PPI.
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Dkt. No. 204, (Dkt. No. 204 Granted without Did not address                  See line for Dkt. No. 178. This sealing request also
Plaintiffs’      refers to the     explanation in                                                       relates to evidentiary
Administrative Moss Group          Dkt. No. 222                                                         hearing exhibits, and Dkt.
Motion to        report, which                                                                          162-3, which Federal
Consider         Defendants                                                                             Defendants agree should
Whether          requested be                                                                           be unsealed subject to the
Material         sealed in Dkt.                                                                         redaction of personally
Should Be        No. 193)                                                                               identifying information.
Sealed                                                                                                  The excerpt in Dkt. 178-3
Regarding                                                                                               referencing Dkt. 176-4,
Portions of                                                                                             should remain sealed on
Plaintiffs’                                                                                             the new ground that it
Opposition to                                                                                           contains information
United States’                                                                                          relating to ongoing
Motion to                                                                                               criminal investigations.
Seal Excerpts
of Plaintiffs’
Filings and
Preliminary
Injunction
Exhibit N
(Dkt. No.
193)
Dkt. No. 206, Privacy Act, 5 Granted without Defendants object to            Proposed Intervenors       Federal Defendants
Mtn. to Seal U.S.C.                explanation in unsealing this declaration cannot fully assess        maintain that Dkt. 206-3
Reese Second § 552a(b)(7)          Dkt. No. 222   as the reasons for sealing whether underlying         must remain sealed on the
Decl. and                                         (confidential criminal     documents should be        new ground that it
related filings, (Defendants also                 investigative material and unsealed without           contains information
which were       previously relied                privacy of a non- party) examining the Court’s        relating to an ongoing
provided at      on the Court’s                   remain compelling despite basis for allowing these criminal investigation.
the direction February 27,                        facility closure.          documents to be filed
of the Court 2024 hearing                                                    under seal. Proposed
during the       statements)                                                 Intervenors note their
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Feb. 27, 2024                                                              general objection to
Hearing, and                                                               Defendants’ reliance on
contains                                                                   the Privacy Act and FOIA
confidential                                                               exemptions.
criminal
investigative
material and
PII of a non-
party.
Dkt. No. 229, Privacy Act, 5 Granted without Defendants do not object Proposed Intervenors did (no change)
Unopposed      U.S.C.           explanation in to redacting PII and filing not request that this be
Mtn. to Seal § 552a             Dkt. No. 232   a public version of Dkt. unsealed.
Documents                                      No. 229-2.
Related to
Special
Master
Candidates
(Exhibits 1
through 5)
Dkt. No. 236, Lothrop’s First Pending          Defendants object to         Defendants’ argument         Federal Defendants agree
Admin. Mtn Decl.,                              unsealing Dkt. No. 236- 4, relating to institutional      that Dkt. No. 236-4 should
for in camera institutional                    as the reasons for sealing safety is not supported by be unsealed.
review and to security.                        (institutional security)    specific facts. Proposed
Seal Notice of                                 remain compelling despite Intervenors agree with
ex parte                                       facility closure.           Plaintiffs’ objection to this
Communicatio                                                               sealing request. See Dkt.
n                                                                          No. 237 at 2-3.
Dkt. No. 239, Lothrop’s First Pending          Defendants do not           The Court should unseal Federal Defendants agree
Admin. Mtn Decl.,                              object to unsealing Dkt. Dkt. No. 239-3 now that that both Dkt. Nos. 239-3
for in camera institutional                    No. 239-3, as the transfer Defendants have                and 239-4 can be unsealed
review and to security.                        is complete and FCI         withdrawn their sealing with redaction of
Seal           Advance public                  Dublin is closed, mooting request.                        personally identifying
Documents      notice of intent                the reasons for sealing.                                  information.
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                    SEALED DOCUMENTS PROPOSED INTERVENORS REQUESTED BE UNSEALED


Related to    to transfer an              The remaining attachment The remaining attachment
Transfer of   AIC is not sound            contain PII and must      should be unsealed but
AIC           correctional                remain sealed pursuant to allow for redaction of PII.
              practice and can            the Privacy Act.
              jeopardize the
              safety of the AIC
              as well as
              institution staff,
              both of which
              are independent
              compelling
              interests.
Dkt. No. 242, Lothrop’s First Pending     Defendants do not object    The Court should unseal Federal Defendants agree
Admin. Mtn Decl.,                         to unsealing Dkt. No.       Dkt. No. 242-3 now that that Dkt. Nos. 242, 242-1,
for in camera institutional               242- 3 as the transfer is   Defendants have            and 242-2 should be
review and to security.                   complete and FCI            withdrawn their sealing unsealed.
Seal          Advance public              Dublin is closed,           request. Dkt. No. 242 is a
Documents     notice of intent            mooting the reasons for     motion to seal that should Federal Defendants also
Related to    to transfer an              sealing. The remaining      also be unsealed.          agree that Dkt. Nos. 242-3
Transfer of   AIC is not sound            attachments contain PII                                and 242-4 can be unsealed
AIC           correctional                and must remain sealed      Proposed Intervenors       with redaction of
              practice and can            pursuant to the Privacy     cannot assess whether      personally identifying
              jeopardize the              Act.                        additional underlying      information.
              safety of the AIC                                       documents should be
              as well as                                              unsealed without seeing
              institution staff,                                      motion to seal.
              both of which
              are independent
              compelling
              interests.
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                     SEALED DOCUMENTS PROPOSED INTERVENORS REQUESTED BE UNSEALED


Dkt. No. 244, Lothrop’s First Pending      Defendants do not           The Court should unseal Federal Defendants agree
Admin. Mtn Decl.,                          object to unsealing Dkt.    Dkt. No. 244-3 now that that Dkt. Nos. 244, 244-1,
for in camera institutional                No. 244-3 as the transfer   Defendants have            244-2, and 244-3 should
review and to security.                    is complete and FCI         withdrawn their sealing be unsealed.
Seal          Advance public               Dublin is closed,           request. Dkt. No. 244 is a
Documents     notice of intent             mooting the reasons for     motion to seal that should Federal Defendants also
Related to    to transfer an               sealing. The attachments    also be unsealed.          agree that Dkt. Nos. 244-4,
Transfer of   AIC is not sound             contain PII and should                                 244-5, and 244-6 can be
AIC           correctional                 remain sealed pursuant                                 unsealed with redaction of
              practice and can             to the Privacy Act.         Proposed Intervenors       personally identifying
              jeopardize the                                           cannot assess whether      information.
              safety of the AIC                                        additional underlying
              as well as                                               documents should be
              institution staff,                                       unsealed without seeing
              both of which                                            motion to seal.
              are independent
              compelling
              interests.
Dkt. No. 247, Dkt. No. 161 - 3 Pending     Defendants object to         Proposed Intervenors note (no change)
Unopposed     at                           unsealing Dkt. No. 246-1 that maps of the facility
Mtn. to Seal ¶¶ 6, 8, 16,                  and 2, the portions of the are already available to
Portions of   institutional                reports containing maps of the public in Dkt. No.
Mold and      security.                    the facility, as the reasons 198-2.
Asbestos                                   for sealing (institutional
Reports                                    security) remain
                                           compelling despite
                                           facility closure.
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Dkt. No. 251, Lothrop’s First    Granted without Defendants do not object The Court should unseal Federal Defendants agree
Mtn. to Seal Decl.,              explanation in  to unsealing Dkt. No. 251- Dkt. No. 251-3 now that that Dkt. Nos. 251 and all
Notice of       institutional    Dkt. No. 300    3 as the transfer is        Defendants have              attachments should be
Intent to       security.                        complete and FCI Dublin withdrawn their sealing unsealed.
Transfer AICs                                    is closed, mooting the      request. Dkt. No. 251 is a
Due to Facility                                  reasons for sealing. As     motion to seal that should
Closure                                          such, Defendants will       also be unsealed.
                                                 redact PII and
                                                 file a public version of
                                                 Dkt. No. 251-3.
Dkt. No. 258, Lothrop’s First Granted without Defendants object to           Defendants’ argument         Federal Defendants do not
Admin. Mtn to Decl.,             explanation in  unsealing documents         relating to institutional    object to unsealing Dkt.
Seal Excerpts institutional      Dkt. No. 300    related to Dkt. No. 258, as safety is not supported by Nos. 258-3 and 258-4, as
from U.S.’     security.                         the reasons for sealing     specific facts. Proposed the transfer is complete
Mtn for Relief                                   (institutional security)    Intervenors agree with       and FCI Dublin is closed,
from Dkt. No.                                    remain compelling despite Plaintiffs’ objection to this mooting the reasons for
254-1                                            facility closure.           sealing request. See Dkt. sealing.
                                                                             No. 259 at 2-3.
Dkt. No. 263, (Defendants have Granted without Did not address               Consistent with Civil L.R. Federal Defendants agree
Plaintiffs’    not previously explanation in                                 79-5(f)(3), the Court        that redactions may be
Administrative responded to this Dkt. No. 300                                should order that            removed consistent with
Motion to      motion)                                                       Plaintiffs’ brief be refiled unsealing.
Consider                                                                     without redactions.
Whether
Another
Party’s
Material
Should Be
Sealed
Regarding
Portions of
Plaintiffs’
Notice of
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Motion and
Memorandum
of Points and
Authorities in
Support of
Motion for
Temporary
Restraining
Order
Dkt. No. 292, The Court         Pending    To the extent the Court’s Proposed Intervenors          Federal Defendants have
Notice of      directed BOP to             Order directing this filing cannot assess whether       stated that these
Manual Filing provide this                 remains sealed,             underlying documents        documents relate to the
Documents      filing in sealed            Defendants object to        should be unsealed without issue of record
Under Seal in Order at Dkt.                unsealing Dkt. No. 292- knowing the nature of the preservation, including a
Response to No. 275-1.                     A–P. If Dkt. No. 275 - 1 is documents and examining declaration explaining how
Dkt.           Some of the                 unsealed, Defendants do the Court’s basis for           records were being
No. 275- 1     contents are                not object to redacting PII directing these documents preserved during the
               privileged and              and law enforcement         to be filed under seal.     closure.
               confidential law            sensitive materials         Proposed Intervenors note
               enforcement                 and filing public versions. their general objections to Intervenors take the
               sensitive                                               Defendants’ reliance on position that the
               policies.                                               FOIA exemptions and         documents should be
                                                                       evidentiary privileges for docketed. If the need for
                                                                       law enforcement-related sealing persists, Federal
                                                                       documents.                  Defendants should move
                                                                                                   to seal accordingly.
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                   SEALED TESTIMONY PROPOSED INTERVENORS REQUESTED BE UNSEALED


                                        U.S.’s Position
  Docket Entry       Description             (Dkt.            Proposed Intervenors’ Reply         Updated Positions
                                           No. 329)                     (Dkt. No. xx)
Dkt. No. 107     Sealed Transcript of Not addressed       The Court should consider             Federal Defendants believe this
                 Proceedings                              whether the facility’s closure has    excerpt has been sealed because it
                 held on January 5,                       mooted any grounds for sealing.       contains the names of witnesses
                 2024                                     Proposed Intervenors also note their who were otherwise identified by
                                                          general objection to Defendants’      initials. To the extent this is the
                                                                                                basis for sealing, Intervenors do
                                                          arguments relating to institutional
                                                                                                not challenge the sealing.
                                                          safety.
Dkt. No. 113     Sealed Transcript of Not addressed       The Court should consider whether Federal Defendants maintain that
                 Ex Parte                                 the facility’s closure has mooted any these transcripts should be sealed
                 Proceedings held on                      grounds for sealing. Proposed         because they contain confidential
                 January 4, 2024                          Intervenors also note their general information unrelated to the
                                                          objection to Defendants’ arguments merits of the case.
                                                          relating to institutional safety.
                                                                                                Intervenors cannot assess whether
                                                                                                to challenge this sealing without
                                                                                                understanding the nature of the
                                                                                                proceedings.
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                 SEALED TESTIMONY PROPOSED INTERVENORS REQUESTED BE UNSEALED


Dkt. No. 114   Sealed Transcript of Not addressed   The Court should consider whether Federal Defendants maintain that
               Ex Parte                             the facility’s closure has mooted any these transcripts should be sealed
               Proceedings held on                  grounds for sealing. Proposed         because they contain confidential
               January 4, 2024                      Intervenors also note their general information unrelated to the
                                                    objection to Defendants’ arguments merits of the case.
                                                    relating to institutional safety.
                                                                                          Intervenors cannot assess whether
                                                                                          to challenge this sealing without
                                                                                          understanding the nature of the
                                                                                          proceedings.
Dkt. No. 116   Sealed Transcript Not addressed      The Court should consider whether Federal Defendants believe this
               of Proceedings                       the facility’s closure has mooted any excerpt has been sealed because it
               held on January 8,                   grounds for sealing. Proposed         contains the names of witnesses
               2024                                 Intervenors also note their general who were otherwise identified by
                                                    objection to Defendants’ arguments initials. To the extent this is the
                                                    relating to institutional safety.     basis for sealing, Intervenors do
                                                                                          not challenge the sealing.
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                  SEALED COURT ORDERS PROPOSED INTERVENORS REQUESTED BE UNSEALED


                                                       UNSEALED
                                                                            Proposed Intervenors’ Updated Positions
Docket Entry     Description                    U.S.’s Position (Dkt. No.   Reply
                                                329)
Dkt. No. 157-1   Attachment to Order Granting Not addressed                 The attachment to the Federal Defendants take no
                 Immediate, Specific Relief                                 Court’s Order should be position on whether this
                 Based on Emergency Health                                  unsealed because the     Order should be unsealed.
                 and Safety Concerns at the FCI                             facility closure has
                 Dublin Satellite Camp, filed                               mooted security concerns.
                 2/16/2024
Dkt. No. 252-1   Attachment to Order Re:        Not addressed               The attachment to the    Federal Defendants take no
                 Transfer of Inmates at FCI                                 Court’s Order should be position on whether this
                 Dublin, filed 4/15/2024                                    unsealed because the     Order should be unsealed.
                                                                            facility closure has
                                                                            mooted security concerns.
Dkt. No. 254-1   Attachment to Order Re:       Not addressed                The attachment to the    Federal Defendants take no
                 Continued Guidance                                         Court’s Order should be position on whether this
                 Concerning the Transfer of                                 unsealed because the     Order should be unsealed.
                 Inmates at FCI Dublin, filed                               facility closure has
                 4/15/2024                                                  mooted security concerns.
Dkt. No. 260-1   Attachment to Order Re:       Not addressed                The attachment to the    Federal Defendants take no
                 Continued Guidance                                         Court’s Order should be position on whether this
                 Concerning the Transfer of                                 unsealed because the     Order should be unsealed.
                 Inmates at FCI Dublin, No. 2,                              facility closure has
                 filed 4/17/2024                                            mooted security concerns.
Dkt. No. 264-1   Attachment to Order Re:       Not addressed                The attachment to the    Federal Defendants take no
                 Continued Guidance                                         Court’s Order should be position on whether this
                 Concerning the Transfer of                                 unsealed because the     Order should be unsealed.
                 Inmates at FCI Dublin, No. 3,                              facility closure has
                 filed 4/22/2024                                            mooted security concerns.
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                  SEALED COURT ORDERS PROPOSED INTERVENORS REQUESTED BE UNSEALED


Dkt. No. 275-1   Attachment to Order Re:       Not addressed     The attachment to the    Federal Defendants take no
                 Continued Guidance                              Court’s Order should be position on whether this
                 Concerning the Transfer of                      unsealed because the     Order should be unsealed.
                 Inmates at FCI Dublin, No. 4,                   facility closure has
                 filed 4/23/2024                                 mooted security concerns.
Dkt. No. 287-1   Attachment to Order Re:       Not addressed     The attachment to the    Federal Defendants take no
                 Continued Guidance                              Court’s Order should be position on whether this
                 Concerning the Transfer of                      unsealed because the     Order should be unsealed.
                 Inmates at FCI Dublin, No. 5,                   facility closure has
                 filed 4/24/2024                                 mooted security concerns.
